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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA,
                                                  Case No. 3:22-cr-00010
                  Plaintiff,
                                                  UNITED STATES’
                  v.                              SENTENCING MEMORANDUM

 DAVID ROBERT NOWLAN,

                  Defendant.

       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Christopher C. Myers, Assistant United States Attorney,

hereby states that to the extent there are any objections to the Presentence Investigation

Report in this case they are contained in the sealed Sentencing Memorandum

Supplement.

       Dated: December 31, 2024

                                          MAC SCHNEIDER
                                          United States Attorney

                                   By:    ____________________________
                                          /s/ Christopher C. Myers
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